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                      UNITED STATES COURT OF APPEALS                        FILED
                             FOR THE NINTH CIRCUIT                           MAY 16 2023
                                                                         MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS
UNITED STATES OF AMERICA,                         No.    22-10312

                  Plaintiff-Appellee,             D.C. No. 5:18-cr-00258-EJD-1
                                                  Northern District of California,
 v.                                               San Jose

ELIZABETH A. HOLMES,                              ORDER

                  Defendant-Appellant.

Before: GRABER, NGUYEN, and SUNG, Circuit Judges.

         Appellant’s motion for bail pending appeal (Docket Entry Nos. 36-38) is

denied. Appellant has not shown that: (1) the appeal raises a “substantial question”

of law or fact that is “fairly debatable,” and (2) if that question is decided in

appellant’s favor, the likely outcome is reversal, an order for a new trial on all

counts resulting in imprisonment, a sentence that includes no term of

imprisonment, or a sentence with a term of imprisonment less than time served

plus the expected duration of the appeal process. See 18 U.S.C. § 3143(b)(1)(B);

United States v. Handy, 761 F.2d 1279, 1283 (9th Cir. 1985).

         The existing briefing schedule remains in effect.




OSA139
